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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO
     UNITED STATES OF AMERICA,
                                                     Criminal No. 12-691(PAD)
     Plaintiff,

                  v.

     [33] Joel Pagan Rivera
     Defendant.

           United States’ Response to Defendant’s Request for Sentence Reduction.

TO THE HONORABLE COURT:

          COMES NOW the United States of America and very respectfully states and prays:

1.        The United States submits its apologies to the Court for not addressing the matter of

defendant’s request for a sentence reduction pursuant to Amendment 782 by the Court

imposed deadlines. That oversight is not intended to delay proceedings further and the

undersigned will ensure strict compliance moving forward.

2.        The United States reviewed defendant’s plea agreement at Docket 927. From its face,

it seems defendant is eligible to be considered for a reduction pursuant to Amendment 782.

In addition, defendant has attempted to address his post-conviction conduct in his request.

See Docket No. 927.

3.         However, the United States believes it would be appropriate to understand

defendant’s history (including criminal history), as set forth in the Pre-Sentence Report, and

to receive the input from the Federal Public Defender’s Office and the United States Probation

Office to determine if a stipulation is viable in this case. See In re: USSG Amendment 782,

14-426(ADC).

          WHEREFORE, the United States respectfully prays the Court take notice of the

foregoing and allow the United States a short period of time to refer and consult the matter

with the Federal Public Defender’s Office and the United States Probation Office.
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       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 7th day of February, 2023.

                                                 W. STEPHEN MULDROW
                                                 United States Attorney

                                                  /s/Myriam Y. Fernández-González
                                                  Myriam Y. Fernández-González
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to

all attorneys of record.

                                                  s/ Myriam Y. Fernandez-Gonzalez
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